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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ x
 In re:                                                       :        Chapter 11
                                                              :
 WESTINGHOUSE ELECTRIC COMPANY                                :        Case No. 17-10751 (MEW)
 LLC, et al.,                                                 :
                                                              :
                   Debtors. 1                                 :        (Jointly Administered)
                                                              :
 ------------------------------------------------------------ x


             NOTICE OF FILING THE DECLARATIONS OF DISINTERSTEDNESS
                    BY DTT MEMBER FIRMS AS SUBCONTRACTORS


                  PLEASE TAKE NOTICE THAT pursuant to this Court’s Order Pursuant to 11

 U.S.C. §§ 327(a) and 328, Fed. R. Bankr. P. 2014(a) and 2016, and Local Rules 2014-1 and 2016-

 1 for Authority to Employ and Retain Deloitte Consulting LLP for Consulting Services Nunc Pro

 Tunc to November 28, 2017 [Docket No. 2972] (the “Retention Order”), to the extent any non-

 U.S. member firm of Deloitte Touche Tohmatsu Limited (each a “DTT Member Firm”) provides

 services as a subcontractor to Deloitte Consulting LLP (“Deloitte Consulting”) in connection with

 Deloitte Consulting’s engagement with the Debtors, such DTT Member Firm shall file and serve



 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, if any, are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833),
 Fauske and Associates LLC (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR
 Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services,
 LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster Construction
 Inc. (1673), Stone & Webster, Inc. d/b/a WECTEC Global Project Services Inc. (8572), Stone & Webster International
 Inc. (1586), Stone & Webster Services LLC (5448), Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB
 Nuclear Energy Services Inc. (2348), WEC Carolina Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions,
 LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC
 Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC LLC
 (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry
 Products International Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse
 Technology Licensing Company LLC (5961). The Debtors’ principal offices are located at 1000 Westinghouse Drive,
 Cranberry Township, Pennsylvania 16066.
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 on the parties set forth in the Order Pursuant to 11 U.S.C. § 105(a) and 328, Fed. R. Bankr. P.

 1015(c), 2002(m), and 9007 Implementing Certain Notice and Case Management Procedures

 [Docket No. 101] a declaration of disinterestedness (each a “Declaration”).

        PLEASE TAKE FURTHER NOTICE THAT in accordance with the Retention Order,

 attached hereto as Exhibits A, B, and C are the Declarations by the DTT Member Firms in China,

 Italy, and the United Kingdom, respectively.



 Dated: Philadelphia, Pennsylvania
        October 1, 2018

                                                _______________________
                                                Louis Librandi
                                                Principal
                                                Deloitte Consulting LLP




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                                   EXHIBIT C
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